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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DARIUS LAW,

        Plaintiff,                      Case No: 2:16-CV-14142-RHC-MKM
                                        Hon. Robert H. Cleland
vs.

RALPH K. MAYERS, PLLC, and
AMERICAN NATIONAL ADJUSTMENT
CORPORATION,

     Defendants.
_____________________________________/

 GARY D. NITZKIN (P41155)            DEBORAH A. LUJAN (P46990)
 TRAVIS SHACKELFORD (P68710)         Collins Einhorn Farrell PC
 CARL E. SCHWARTZ (P70335)           Attorney for Defendant Mayers
 Michigan Consumer Credit Lawyers    4000 Town Center, 9th Floor
 Attorneys for Plaintiff             Southfield, MI 48075
 22142 West Nine Mile Road           (248) 355-4141/(248) 355-2277 (fax)
 Southfield, MI 48033                deborah.lujan@ceflawyers.com
 (248) 353-2882/(248) 353-4840 (fax)
 gary@micreditlawyer.com
______________________________________/

                      STIPULATION FOR DISMISSAL

        IT IS HEREBY STIPULATED by and between the parties that the above-

entitled cause of action be dismissed with prejudice and without costs or attorney

fees.

 /s/Carl E. Schwartz (w/permission)_       /s/Deborah A. Lujan_____________
 CARL E. SCHWARTZ (P70335)                 DEBORAH A. LUJAN (P46990)
 Michigan Consumer Credit Lawyers          Collins Einhorn Farrell PC
 Attorneys for Plaintiff                   Attorneys for Defendant Mayers

Dated: April 19, 2017
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

DARIUS LAW,

      Plaintiff,                         Case No: 2:16-CV-14142-RHC-MKM
                                         Hon. Robert H. Cleland
vs.

RALPH K. MAYERS, PLLC, and
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 Southfield, MI 48033                 deborah.lujan@ceflawyers.com
 (248) 353-2882/(248) 353-4840 (fax)
 gary@micreditlawyer.com
______________________________________/

                           ORDER FOR DISMISSAL

      Pursuant to stipulation of the parties,

      IT IS HEREBY ORDERED that the above-entitled cause of action be

dismissed with prejudice and without costs or attorney fees.



                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE


Dated: April 24, 2017
  2:16-cv-14142-RHC-MKM        Doc # 11     Filed 04/24/17   Pg 3 of 3   Pg ID 30




I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, April 24, 2017, by electronic and/or ordinary mail.


                                           S/Lisa Wagner
                                          Case Manager and Deputy Clerk
                                          (810) 292-6522
